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                                       By Tamara Ellis at 2:17 pm, Oct 26, 2023

                   United States Court of Appeals
                                FIFTH CIRCUIT
                             OFFICE OF THE CLERK
LYLE W. CAYCE                                                 TEL. 504-310-7700
CLERK                                                      600 S. MAESTRI PLACE,
                                                                   Suite 115
                                                          NEW ORLEANS, LA 70130

                           October 25, 2023


Mr. Vincent Eugene Wisely
Vincent Wisely, Attorney at Law
325 N. Saint Paul
Suite 3100
Dallas, TX 75201

      No. 23-11081    USA v. Kirkland
                      USDC No. 4:23-CR-61-2


Dear Mr. Wisely,
We have docketed the appeal and ask you to use the case number
above in future inquiries.
Filings in this court are governed strictly by the Federal Rules
of Appellate Procedure. We cannot accept motions submitted under
the Federal Rules of Civil Procedure. We can address only those
documents the court directs you to file, or proper motions filed
in support of the appeal. See Fed. R. App. P. and 5th Cir. R. 27
for guidance. Documents not authorized by these rules will not be
acknowledged or acted upon.
You must complete a transcript order form, which can be obtained
from the court’s website www.ca5.uscourts.gov. If you are required
to electronically file, you must, file the form via the 5th
Circuit’s Electronic Document Filing System even if the form was
filed with the district court, and make financial arrangements
with the court reporter. See also 5th Cir. R. 30.1.2 and 5th Cir.
R. 31.1 to determine if you have to file electronically.       When
completed, this meets your obligation to order the necessary
portions of the court reporter’s transcript, see Fed. R. App. P.
10(b). (If you are pro se and unable to afford payment, you must
file a motion with the district court requesting transcript at
government expense, and notify this court.) We will coordinate
the transcript deadlines with the court reporter.        The court
reporter should contact you directly if an extension of time to
file the transcript is granted. Failure to complete the transcript
order form and make financial arrangements with the court reporter
within 15 days will result in dismissal of the appeal in accordance
with the rules.
We will provide you information about the briefing schedule of
this appeal at a later date.   If a transcript is unnecessary,
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please complete the section on the transcript order form to
indicate such and we will start the briefing schedule. 5th Cir.
R. 31.4 and the Internal Operating Procedures following rules 27
and 31 state that except in the most extraordinary circumstances,
the maximum extension for filing briefs is 30 days in criminal
cases and 40 days in civil cases.
All counsel who desire to appear in this case must electronically
file a "Form for Appearance of Counsel" naming all parties
represented within 14 days from this date, see Fed. R. App. P.
12(b) and 5th Cir. R. 12. This form is available on our website
www.ca5.uscourts.gov.   Failure to electronically file this form
will result in removing your name from our docket. Pro se parties
are not required to file appearance forms.
ATTENTION ATTORNEYS: Attorneys are required to be a member of
the Fifth Circuit Bar and to register for Electronic Case
Filing. The "Application and Oath for Admission" form can be
printed or downloaded from the Fifth Circuit’s website,
www.ca5.uscourts.gov. Information on Electronic Case Filing is
available at www.ca5.uscourts.gov/cmecf/.
ATTENTION ATTORNEYS: Direct access to the electronic record on
appeal (EROA) for pending appeals will be enabled by the U S
District Court on a per case basis. Counsel can expect to
receive notice once access to the EROA is available. Counsel
must be approved for electronic filing and must be listed in the
case as attorney of record before access will be authorized.
Instructions for accessing and downloading the EROA can be found
on our website at http://www.ca5.uscourts.gov/docs/default-
source/forms/instructions-for-electronic-record-download-
feature-of-cm. Additionally, a link to the instructions will be
included in the notice you receive from the district court.
Sealed documents, except for the presentence investigation
report in criminal appeals, will not be included in the EROA.
Access to sealed documents will continue to be provided by the
district court only upon the filing and granting of a motion to
view same in this court.
We recommend that you visit the Fifth Circuit’s website,
www.ca5.uscourts.gov and review material that will assist you
during the appeal process. We especially call to your attention
the Practitioner’s Guide and the 5th Circuit Appeal Flow Chart,
located in the Forms, Fees, and Guides tab.
ATTENTION: If you are filing Pro Se (without a lawyer) you can
request to receive correspondence from the court and other
parties by email and can also request to file pleadings through
the court’s electronic filing systems. Details explaining how
you can request this are available on the Fifth Circuit website
at http://www.ca5.uscourts.gov/docs/default-source/forms/pro-se-
filer-instructions. This is not available for any pro se serving
in confinement.
Special guidance regarding filing certain documents:
General Order No. 2021-1, dated January 15, 2021, requires
parties to file in paper highly sensitive documents (HSD) that
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would ordinarily be filed under seal in CM/ECF.   This includes
documents likely to be of interest to the intelligence service
of a foreign government and whose use or disclosure by a hostile
foreign government would likely cause significant harm to the
United States or its interests. Before uploading any matter as
a sealed filing, ensure it has not been designated as HSD by a
district court and does not qualify as HSD under General Order
No. 2021-1.
A party seeking to designate a document as highly sensitive in
the first instance or to change its designation as HSD must do
so by motion. Parties are required to contact the Clerk’s office
for guidance before filing such motions.
Sealing Documents on Appeal: Our court has a strong presumption
of public access to our court’s records, and the court
scrutinizes any request by a party to seal pleadings, record
excerpts, or other documents on our court docket. Counsel
moving to seal matters must explain in particularity the
necessity for sealing in our court. Counsel do not satisfy this
burden by simply stating that the originating court sealed the
matter, as the circumstances that justified sealing in the
originating court may have changed or may not apply in an
appellate proceeding. It is the obligation of counsel to
justify a request to file under seal, just as it is their
obligation to notify the court whenever sealing is no longer
necessary. An unopposed motion to seal does not obviate a
counsel’s obligation to justify the motion to seal.


                                Sincerely,
                                LYLE W. CAYCE, Clerk

                                By: _________________________
                                Tiara N. McCorkle, Deputy Clerk

cc:
      Mr. Brian W. McKay
      Ms. Karen S. Mitchell
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Provided below is the court’s official caption. Please review
the parties listed and advise the court immediately of any
discrepancies. If you are required to file an appearance form,
a complete list of the parties should be listed on the form
exactly as they are listed on the caption.

___________

Case No. 23-11081
___________

United States of America,
                         Plaintiff - Appellee
v.
Mark Anthony Kirkland, also known as Chuy,
                         Defendant - Appellant
